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                  ATTACHMENT B
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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION


 UNITED STATES OF AMERICA

        v.
                                                        Case No. 3:19-cr-00130-MHL
 OKELLO T. CHATRIE,

                Defendant.


                         DECLARATION OF SARAH RODRIGUEZ

       I, Sarah Rodriguez, respectfully submit this declaration in regard to the above-captioned

matter. I make this declaration based on my knowledge of the facts stated herein.

       1.      I am a Team Lead for Legal Investigations Support (LIS) at Google, where my

responsibilities include processing law enforcement legal process requests directed at Google,

including requests for Location History (LH) information. I joined Google in 2011 and have

been in my current role since March 2018.

       2.      In my position, I am responsible for managing a team of LIS specialists who

process and respond to certain law enforcement requests for data, including the LIS specialists

involved in processing the search warrant in this case. I also process and respond to these

requests.

I.     Google’s Production of LH Information to Law Enforcement In Response To
       Geofence Warrants

       3.      Google often receives search warrants from law enforcement authorities in the

United States for a specifically identified Google user’s Location History (“LH”) information

from a specifically identified time range. When producing data in response to such a demand,




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Google searches for and retrieves only the responsive data that is associated with the particular

users or accounts identified in the warrant.

         4.    Google also often receives search warrants from law enforcement in the United

States for so-called “geofence” requests. Typically, such requests do not specify any known

person, user, or account. Instead, geofence requests seek LH information for all Google users

whose LH information indicates that their devices may have been present in a specified

geographic area surrounding a point of interest, which law enforcement often indicates is a

suspected crime scene, and a certain window of time, which might span a few minutes or a few

hours.

         5.    Early “geofence” legal requests sought LH data that would identify all Google

users who were in a geographical area in a given time frame. To ensure privacy protections for

Google users and to protect against overbroad disclosures based on non-contextualized LH

information, Google instituted a policy of objecting to any warrant that failed to include

deidentification and narrowing measures. That protocol typically, as included in the search

warrants, entails a three-step process.

         6.    First, law enforcement generally obtains a search warrant compelling Google to

disclose a deidentified list of all Google user accounts for which there is saved LH information in

a defined geographic area during a defined timeframe.

         7.    To comply with this first step of the process, Google must conduct the search

across all LH data to identify users with LH data during the relevant timeframe, and run a

computation against every set of stored LH coordinates to determine which records match the

geographic parameters in the warrant. Google does not know which users may have such saved

LH data before conducting the search and running the computations.




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        8.       After that search is completed, LIS assembles the stored LH records responsive to

the request without any account-identifying information. This deidentified “production version”

of the data includes a device number, the latitude/longitude coordinates and timestamp of the

stored LH information, the map’s display radius, and the source of the stored LH information

(that is, whether the location was generated via Wi-Fi, GPS, or a cell tower). The volume of data

produced at this stage depends on the size and nature of the geographic area and length of time

covered by the geofence request, which vary considerably from one request to another. LH

records are deemed responsive to a geofence warrant (i.e., a user’s estimated location is treated

as falling within the scope of the warrant) if the stored latitude/longitude coordinates fall within

the radius described in the warrant. That is true even if the shaded blue radius around those

coordinates, which I understand reflects a 68% confidence interval around the location estimate,

falls in part outside of the radius described in the warrant.

        9.       LIS deidentifies the data produced to the government at this step by removing the

Google Account ID (an internal identification number assigned to the Google account that is

associated to the device that is specific to each Google account) associated with the data, leaving

only a device number that is used only in the Location History database. This device number is

only used for distinguishing devices reporting LH to a user’s account, is not a valid account

identifier (as it is not unique across accounts), and cannot be mapped to an Android ID, mobile

equipment identifier (MEID), or international mobile station equipment identity (IMEI) number

(as it is not unique across devices). 1




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  An Android ID is an internal identification number assigned to each Android device connected to the Google
Services Framework. See Google Pixel Phone Help, Learn about the Android Device Configuration Service,
https://support.google.com/pixelphone/answer/9021432?hl=en (visited Feb. 28, 2020).


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       10.     Second, the government reviews the deidentified production version to determine

the device numbers of interest. If additional deidentified location information for a device in the

production is necessary to eliminate false positives or otherwise determine whether that device is

actually relevant to the investigation, law enforcement can compel Google to provide additional

contextual location coordinates beyond the time and geographic scope of the original request (if

authorized in that request).

       11.     This additional contextual LH information can assist law enforcement in

eliminating devices in the production that were not in the target location for enough time to be of

interest, were moving through the target location in a manner inconsistent with other evidence, or

otherwise are not relevant to the investigation.

       12.     Finally, based on the deidentified data produced, the government can compel

Google (if authorized in the request) to provide account-identifying information for the device

numbers in the production that the government determines are relevant to the investigation. In

response, Google provides account subscriber information such as the email address associated

with the account and the name entered by the user on the account.

II.    This Geofence Warrant

       13.     In this case, Google received a geofence warrant (Google Reference No.

2590472) dated June 14, 2019, that was submitted to Google’s online system through Detective

Joshua Hylton’s verified account on June 20, 2019. The geofence warrant requested information

about Google accounts associated with devices that reported a location located within a 150-

meter radius around a specified latitude and longitude coordinate (described as an area

surrounding a Federal Credit Union and located in Richmond, Virginia) between 4:20 P.M. and




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5:20 P.M. on Monday, March 20, 2019. The warrant set forth the three-step process (described

above), which Google followed.

       14.     A LIS specialist executed the query for searching across all LH data to identify

users with LH data during the specified timeframe and to run the computations against every set

of coordinates in order to determine which LH records matched the geographic parameters in the

warrant. The LIS specialist then produced the deidentified “production version” of the LH

records responsive to the request (i.e., no account-identifying information) through Google’s

online system to Detective Hylton’s online account on or about June 28, 2019. As described

above, this production included the latitude/longitude coordinates and timestamp of the

responsive stored LH information, along with a display radius around those coordinates

(expressed as a distance in meters) that reflects Google’s confidence in the LH coordinates. A

value of 100 meters, for example, I understand reflects Google’s estimation that the user was

likely located within a 100-meter radius of the saved coordinates based on a goal to generate a

location radius that accurately captures roughly 68% of users. I understand that the same

calculation would apply to any other display radius given in the production.

       15.     On or about July 2, 2019, Google received an email from Detective Hylton

requesting additional location data (i.e., step 2) and subscriber information (i.e., step 3) for all 19

device numbers produced in step 1.

       16.     On or about July 8, 2019, Google received two voicemails from Detective Hylton.

A LIS specialist called Detective Hylton that day and explained the issues in the Detective’s email

as the request did not appear to follow the three sequential steps or the narrowing required by the

search warrant. Detective Hylton asked, and the LIS specialist explained, what information

would be produced in step 2 and after in step 3. The LIS specialist also explained the importance

of step 2 in narrowing. Detective Hylton stated that Google could run step 2 on

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the first 9 device numbers in his email, dated July 2, 2019. Detective Hylton also stated that he

would attempt to narrow further for step 3.

        17.       On or about July 9, 2019, Google received an email from Detective Hylton

requesting additional location data (i.e. , step 2) on 9 device numbers.

        18.    A LIS specialist executed the query to search for the additional contextual

location coordinates for the 9 device numbers beyond the time and geographic scope of the

original request (as authorized in the search warrant). The LIS specialist then produced the

deidentified "production version" of the LH records responsive to the request (i.e., no account-

identifying information) through Google's online system to Detective Hylton's online account on

or about July 9, 2019.

       19.     On or about July 10, 2019, and July 11, 2019, Google received emails from

Detective Hylton requesting subscriber information (i.e., step 3) on 3 device numbers.

       20.     A LIS specialist produced the account subscriber information associated with the

3 device numbers on or about July 11, 2019.

       21.     On or about July 12, 2019, Google received an email from Detective Hylton

requesting additional device or phone number information that could be associated with one of

the accounts that LIS produced subscriber information on in step 3. A LIS specialist called

Detective Hylton on or about July 12, 2019, and no further information was produced under this

search warrant.



       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

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